        Case 2:11-cr-00487-RB          Document 416         Filed 11/12/13      Page 1 of 1




                        IN THE UNITED
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                                       TATES DIS
                                               STRICT CO
                                                       OURT

                           FOR THE
                               T   DISTR
                                       RICT OF NE
                                                EW MEXIC
                                                       CO

UNITED
     D STATES OF
              O AMERIICA,

       Plaintiff,
       P

v.                                                                    N
                                                                      Nos.    13-cvv-1064 RB/S
                                                                                             SMV
                                                                              11-crr-0487 RB
RICARD
     DO GUTIER
             RREZ,

       Defendant.
       D

                                     ORDER FOR ANSW
                                                  WER

       THIS
       T    MATT
               TER is beforre the Court,, sua sponte under rule 4(b) of the Rules Goveerning

Section 2255
        2    Cases, on Defendaant Gutierreez’s Motion Under 28 U
                                                               U.S.C. § 22555 to Vacatee, Set

Aside, or
       o Correct Sentence,
                 S         [C
                            CV Doc. 1],, [CR Doc. 396], filedd on Octobeer 29, 2013. In

accordan
       nce with rule 4(b), the Co
                                ourt will direect the Uniteed States to aanswer Defeendant’s mottion.

       IT
        T IS THER
                REFORE ORDERED,
                       O        ADJUDGE
                                      ED, AND D
                                              DECREED that the Cleerk is

directed to forward a copy of Deefendant Gu
                                          utierrez’s Mootion Under 28 U.S.C. § 2255 to Vaacate,

Set Asidee, or Correctt Sentence, [CV
                                  [   Doc. 1], [CR Doc. 3396], and suupporting pappers and exhhibits,

if any, to
         ogether with a copy of th
                                 his Order, to
                                             o the United States of Am
                                                                     merica c/o S
                                                                                Steven R. Sppitzer,

        orney’s Officce, 700 Eastt San Antonio Suite 200,, El Paso, Teexas 79901.
U.S. Atto

       IT
        T IS FURTH
                 HER ORDE
                        ERED that, within twennty-three (233) days of enntry of this O
                                                                                     Order,

the Uniteed States shaall answer Defendant
                                 D         Gu
                                            utierrez’s Mootion Underr 28 U.S.C. § 2255 to Vaacate,

Set Asidee, or Correctt Sentence.

       IT
        T IS SO OR
                 RDERED.
                                                              _________________________________
                                                              STEPHA  AN M. VID
                                                                              DMAR
                                                              United S
                                                                     States Magiistrate Judgge
